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7                            UNITED STATES DISTRICT COURT
8                           SOUTHERN DISTRICT OF CALIFORNIA
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10   CYRUS A. PARSA et al.                               Case No.: 19-cv-2407-CAB-AHG
11                                     Plaintiffs,
                                                         DISMISSAL WITHOUT PREJUDICE
12   v.
13   GOOGLE L.L.C. et al.,
14                                   Defendants.
15
16         In this matter, Plaintiff filed a complaint on December 16, 2019 [Doc. No. 1], and
17   the summons was issued that same day [Doc. No. 2]. On February 26, 2020, Plaintiff filed
18   an amended complaint [Doc. No. 3], and an amended summons was issued that same day
19   [Doc. No. 4]. No other activity has occurred in this case, and there is no indication on the
20   docket that either complaint has been served on any of the dozens of defendants. Under
21   Federal Rule of Civil Procedure 4(m), “[i]f a defendant is not served within 90 days after
22   the complaint is filed, the court—on motion or on its own after notice to the plaintiff—
23   must dismiss the action without prejudice against that defendant or order that service be
24   made within a specified time.” Thus, on May 5, 2020, the Court ordered Plaintiff to show
25   cause, in writing, on or before May 19, 2020, why this matter should not be dismissed for
26   failure to prosecute. The order stated that failure to timely respond would result in
27   dismissal of this lawsuit. It is now almost two weeks after the deadline for a response, and
28   no further activity has occurred on the docket of this case. Accordingly, consistent with

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                                                                               19-cv-2407-CAB-AHG
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1    the Court’s order to show cause, it is hereby ORDERED that this case is DISMISSED
2    WITHOUT PREJUDICE for failure to prosecute.
3          It is SO ORDERED.
4    Dated: June 1, 2020
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